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                                                                                       May 15, 2014

                            UNITED STATES DISTRICT CO URT
                            SO UTH ERN DISTRICT O F FLO RIDA
          14-20347-CR-MIDDLEBROOKS./GARBER
                   C ase N o.
                                        18U.S.C.j554
                                        18U.S.C.j1512(b)(3)
                                        18U.S.C.j371
                                        18U.S.C.j2
  UNITED STATES O F AM ERICA



  W CHARD SHEW DAN
        and
  M ICHAEL HEGARTY,

                         Defendants./


                                        INDICTM ENT

  TheGrand Jury chargesthat:

                                        BACKGROUND


        Atal1timesm aterialto thisIndictment:

                         Rtzulation ofTradein Endanzered Snecies

        1.     The Endangered Species ActCçESA''),Title 16,United StatesCode,Sections
  1531 etseq.,was enacted by Congress to conserve endangered and threatened species and the

 ecosystem supon which they depend.

        2.     The term çlendangered species''means any species,or partthereof,which is in

 danger ofextinction throughout all or a significantportion of its range. Title 16,United States

 Code,Section 153246).
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         3.     Allspecies determ ined to be endangered under the ESA are listed in Title 50
                                                                                              ,

  Code ofFederalRegulations,Section 17.11. The ESA makes itunlawfulto knowingly deliver
                                                                                       ,

  receive,carry,transport,orship in interstateorforeign comm erce, by any m eanswhatsoeverand

  in the course ofa com mercialactivity, endangered speciesof5sh and wildlife including Black
                                                                             ,

  rhinoceros;and to selland offerto sellendangered speciesoffish and wildlife including Black
                                                                              ,

  rhinoceros, in interstate and foreign com merce, as set forth in Title 16,United States Code
                                                                                              ,


  Sections 1538(a)(1)(E) and (F) and 1540(b)(1).Federalregulations also require that, upon
  exportation ofany wildlife,exportersortheiragentsmustfilewith FW S a com pleted declaration

  forImportation orExportation ofFish and W ildlife (form 3-177),and thatallwildlife exports
  mustbe cleared by an FW S offker.50C.F.R.j 14.61.Thewildlifebeingexported,alongwith
  al1required pennhs,licenses,and otherdocum entsm ustalso be presented to the FW S oftker. 50

  C.F.R.j 14.52.
        4.     The tenn Sifish orwildlife''means any m emberofthe anim alkingdom , including

  without limitation any mammal, ssh, bird (including any migratory, nonmigratory, or
 endangeredbirdforwhichprotectionisalsoaffordedbytreaty orotherintem ationalagreement),
  amphibian,reptile,m ollusk,crustacean,artllropod,orotherinvertebrate,and includes any part,

 product,egg,or offspring thereof,or the dead body orparts thereof. Title 16,United States

 Code,Section 153248).
        5.     Rhinoceros are an herbivore w hose only know n predators are hum an beings.

 Rhinocerosarecharacterized bytheirenormoussize,leathery skin,andhorns.A majorthreatto
 the survivalof the rhinoceros is illegal hunting resulting from the internationaldemand for

 rhinoceros horn, w hich is prized as carved   artobjects and in some cultures for its alleged
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  medicinalvalue.Rhinoceroshorn isahighly valued and soughtaftercom m oditydespitethe fact

  thatintem ationaltrade has been largely bnnned and highly regulated since 1976. Rhinoceros

  horns,both carved and çtraw''are particularly soughtafterin Chinaand other Asian countries as

  wellasin theUnited States. Oneform ofcarved rhinoceroshornparticularlyprized in theillegal

  markettakes the form of intricately hand-carved dinking cups, known as télibation cups.''The

  escalating value of these item s has resulted in an increased dem and for rhinoceros horn and

  helped to fosterathriving black market.M ostspeciesofrhinocerosareextinctoron thebrinkof

  extinction asaresultofthisthriving black market.

         6.     The Black rhinoceros (Diceros bicornis) is a species of rhinoceros native to
  eastem and centralAfrica.The Black rhinoceros,Diceros bicornis, was listed asan endangered

  speciesin July 1980. 45 FederalRegister47352,47354.

        7.      The Lacey A ctmakes itunlawfulfora person to,inter alia,engage in conduct

  that involves the sale or purchase, or attempted sale or plzrchase in interstate or foreign

 commerce ofwildlife with a marketvalue in excessof $350.00,knowing thatthe wildlife was
 taken,possessed,transported or sold in violation of or in a m nnner unlawfulunder a law or

 regulationoftheUnited States.16U.S.C.j3372(a)(1)and(a)(4).
                                         COUNT 1
                           Conspiracy To Traffic Protected W ildlife
                                       (18U.S.C.j371)
        1.     Paragraphs 1 through 7 of the Background section of this lndictm ent are

 incorporated herein by referenceasifsetforth intheirentirety.




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         2.     Beginning on an unknow n date, butat leastas early as on or aboutJanuary 1
                                                                                          ,

  2012 and continuing through on oraboutNovember 30, 2012,at M iam i-Dade County in the

  Southem DistrictofFloridaand elsewhere, thedefendants,

                                    RICHARD SHERIDAN
                                           and
                                    M ICHAEL HEGARTY,

  did willfully,that is with the intentto furtherthe objectofthe conspiracy, and knowingly
  combine,conspire,confederate,and agree with othersknown and unknown to the Grand Jury, to

  comm itcertain offensesagainsttheUnited States,thatis:to carry, deliver,receive,transport,and

  ship,in interstate and foreign com merce by any means whatsoever and in the course of a

  comm ercial activity, any endangered species of fish or wildlife, that is, horns from Black

  rhinoceros,and to selland offerfor sale in interstate and foreign com merce, such species, in

  violationofTitle 16,UnitedStatesCode,Sections1538(a)(1)(E)and(F).
                                  Purpose oftlw C onspiracv

         3.     The purpose ofthe conspiracy was forthe defendants and their co-conspirators,

 known and unknown to the Grand Jury,to acquire,sell,receive,carry,transport,deliver,and

  ship in interstateand foreign comm erce,blackrhinoceroshornsfortinancialgain.

                            M anner and M eans ofthe C onspiracv

        The mnnnerand meansby which the defendantssoughtto accomplish the objectand
 purposeoftheconspiracy included,am ong others,thefollowing:

        4.     In furtherance of the conspiracy and to effectthe illegalobjects thereof,the
 defendants,operating from the State of Florida,identified a business located in Rockinghnm ,

 N orth Carolina that w as offering a carved Libation Cup, m ade from the horn of a black

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  rhinoceros,at auction.Thereafter, the defendants travelled from London, England, through

  Atlanta,Georgia,to M iam i,Florida, in orderto arrangeforthe acquisition oftheLibation Cup.

                In furtherance of the conspiracy and to effectthe illegalobjects thereof, the
  defendants travelled to North Carolina and successfully acquired the Libation Cup, w hich w as

  then transported to CoconutGrove, Florida.

           6.   In furtherance ofthe conspiracy and to effect the illegalobjects thereof, the
  Libation Cup wasthen transported from the United Statesto the United Kingdom to be offered

  forsale,withoutfirstbeing declared for exportas required by 1aw to the U .S.Fish & W ildlife

  Service and the U,S.Customs and Border Protection,Department ofHom eland Security, and

  withoutsrstapplying forand obtaining apermitunderthe ESA.

                                          gvertAqfs

        In furtheranceoftheconspiracy,and to effecttheobjectand pumosethereof,therewere
 com mitted and caused to be comm itted by atleastone ofthe co-conspiratorsherein,within the

  Southern District of Florida and elsewhere,at least one of the following overt acts,nm ong

 others:

                On or about April 18, 2012, RICHARD SHERIDAN and M ICHAEL

        H EGARTY departed from London,England by comm ercial air carrier and arrived in

        M iam i,Floridaon April19,2012.

        2.      On oraboutApril25,2012,RICH ARD SH ERIDAN,M ICHAEL H EGARTY,

        and an individualknown to the Grand Jury travelled by commercialaircanierto North

        Carolina.



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                On or about April 25, 2012, at Rockingham , North Carolina, M ICHAEL

        HEGARTY provided an auction house thepersonalinform ation ofan individualknown

        to the Grand Jury,in orderto registerforparticipation in an auction on thatdate.

        4.      O n or about A pril 25, 2012, RICHARD SH ERIDAN, in the presence of

        M ICH AEL HEGARTY , and an individual known to the Grand Jury, bid for and

       purchased Lot463,described asa Chinese RhinocerosHorn Chilong Libation Cup, atan

        auction in Rockingham ,N orth Carolina.

       5.       On or about M ay 3, 2012,at the direction of RICHARD SHERIDAN and

       M ICH AEL HEGARTY,an individualknown to theGrand Jury wired $59,225.00 from
       a Citibrmk accountin M iami,Florida to an accountin North Carolina, which included a

       paym entof$50,000.00 fortherhinoceroshorn Libation Cup comprising Lot463.
       6.       On oraboutM ay 4,2012,M ICHAEL HEGARTY issued packing and shipping

       instnlctions by telephone from Coconut Grove,Florida to a FederalExpress shipping

       offlce in Hillsborough,North Carolina, seeking to insure that delivery of the Black

       rhinocerosLibation Cup to aFloridaaddresswould occurno laterthan M ay 5,2012.

                On oraboutM ay 16,2012,RICHARD SH ERIDAN travelled by com mercialair

       canier from M iam i, Florida to London,England,via Atlanta,Georgia,exporting the

       Libation Cup from the United States and importing the Libation Cup into the United

       Kingdom .

       8.       On or about July 19, 2012, at W andsworth, London, England, RICHARD

       SH ERIDAN attempted to sellthe Libation Cup from Lot463 to anativeofHong Kong,

       China.

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         9.     On an unknown date, but no later than August 23, 2012, RICH ARD

         SHERIDAN fraudulently altered an invoiceissued upon the auction ofLot463 toreflect

         a false price of $500.00 for the Libation Cup and included a statement falsely and
         fraudulently indicating thathewasauthorized to sellthe cup on behalfoftheowner.

                Allin violation ofTitle 18,United StatesCode, Section 371.

                                           COUNT 2
                                           Sm uggling
                                        (18 U.S.C.5 554)

                Paragraphs 1 through 7 of the Background section of this Indictment are

  incop oratedherein by referenceasifsd forth in theirentirety.

         2.     On or aboutM ay 16,2012,atM iam i-Dade County in the Southern Districtof

 Florida and elsewhere,thedefendants,

                                    W C H A M SH EY D A N
                                             and
                                    M ICH A EL H EG AR TY ,

 did fraudulently and knowingly concealed and in mnnner facilitated the transportation and

 concealment of any m erchandise,article,and object,thatis a Libation Cup carved from an

 endangered BlackRhinoceros(Dicerosbicornis)horn,priorto exportation,knowingthesameto
 be intended forexportation contrary to any law and regulation ofthe United States,specifically

 Title 16,United StatesCode,Section 1538(c)(1)and theregulationspromulgatedthereunder,in
 violation ofTitle 18,United StatesCode,Sections554 and 2.




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                                                        COUNT 3
                                                   Obstruction ofJustice
                                                   (18U.S.C.â 1512(b)(3))
            On or about September 1,2012, at M iam i-Dade County, in the Southem Districtof

  Floridaand elsewhere,the defendant,

                                                  M ICHAEL H EGARTY,

  did knowingly and coa ptly attemptto persuade another, with the intentto hinder,delay,and

  prevent the communication to a law enforcementofficer of the United States of information

  relating to the comm ission orpossible comm ission ofa federaloffense, in violation ofTitle 18,

  United StatesCode,Section 1512(b)(3).


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 T omasW atts-FitzGe a1d
 A ssistantU nited States Attorney




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                                               UNITED STATES DISTRIW COURT
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UNITED STATESOFAM ERICA                             CASE NO.
VS.
                                                    CERTIFICATE OFTRIAL AU ORNEY*
RICHARD SHERIDAN et.aI.,
                           Defendants.
                                           /        Supersedlng CaseInform ation:

EourtDi
      vision:(selectone)                            New Defendantls)                       Yes            No
                                                   Num berofNew Defendants
  X     M iam i            Key W est               Totalnum berofcounts
        FTL                W PB            FTP
        ldoherebycertifythat:
                  Ihave carefully considered the allegations ofthe indictment,the numberofdefendants,the numberof
                  probable witnessesandtheIegalcomplexitiesofthe Indictment/lnformationattached hereto.
                  Iam aw arethatthe inform ationsuppliedonthisstatem entwillberelied upon bytheJudgesofthisCourtin
                  setting theircalendars and scheduling crim inaltrialsunderthe mandate ofthe Speedy TrialAct,Title 28
                  U.S.C.Section 3161.
        3.        Interpreter: (YesorNo)             NO
                  ListIanguageand/ordialect
                  Thiscasewilltake 4 daysforthepartiestotry.
                  Please checkappropriatecategoryandtypeofoffenseIisted below:

                                                                     (Checkonlyone)
                  O to 5 days                          X                       Petty
                  6 to 10 days                                                 M inor
                  11to 20days                                                  M isdem .
                  21to 60days                                                  Felony
                  61 daysand over
       6.         HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo) No                    No
       Ifyes:
       Judge:                                               CaseNo.
       (Attachcopyofdispositiveorder)
       Hasacomplaintbeenfiledinthismatter?                  (YesorNo)             No
        Ifyes:
        M agistrate Case No.
        Related M iscellaneousnumbers:
        Defendantts)infederalcustodyasof
        Defendantls)instatecustodyasof
        Rule 20 from the                                      lstrlcto

       Isthisapotentialdeathpenaltycase?(YesorNo)              NO
                  Doesthiscase originatefrom am atterpendinginthe Northern Region ofthe U.S.Attorney'sOffice priorto
                  October14,2003?                 Yes      X    No

                  Does this case originate from a m atter pending in the CentralRegion ofthe U.S.Attorneyls Office priorto
                  Septem ber1,2007?                  Yes        X      No
                                                                                                 '
                                                                                                 j

                                                                                       <

                                                            THO AS W AU -FITZGERA D
                                                            ASSIS ANT UNITED STATES U ORNEY
                                                            Florida BarNo.0273538

*penaltySheetls)attached                                                                                       REV4/8/08
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                            U NITED STA T ES D ISTR ICT C O U R T
                            SO UTH ERN DISTRICT O F FLORIDA

                                        PEN A LTY SH EET

  Defendant'sName:RICHARD SHERIDAN

  C ase No:

  Count# 1:

  Conspiracy To Traffic Protected W ildlife

  Title 18.United StatesCode,Section 371

  *M ax.Penalty:Five(5)years'imprisonment
  Count# 2:

  Sm uggling

  Title 18.United StatesCodesSection 554

  *M ax.Penalty:Ten(10)years'imprisonment
  Count#:




  *M ax.Penalty:

  Count#:




  *M ax.Penalty:




   wR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                           U N ITE D STAT ES DISTR ICT CO UR T
                           SOUTHERN DISTRICT OF FLORIDA

                                       PENA LTY SH EET

  D efendant's Nam e;M ICHA EL HEGA RTY

  C ase N o:

  Count# 1:

  Conspiracy To TrafficProtected W ildlife

  Title 18sUnited StatesCodesSection 371

  *M ax.Penalty;Five(5)years'imprisonmçnt
  Count# 2:

  Sm ugglin:

  Title 1àsUnited StatesCode.Section 554
  *M ax.Penalty:Ten (10)years'imprisonment
  Count# 3:

  Obstruction ofJustice

  Title 18.United StatesCodepSection 1512 (b)(3)

  *M ax.Penaltz: Twenty (20)years'imprisonment
  Count#;




  *M ax.Penalty:




    *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
